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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

In re:                                                §
                                                      §
ERIN ENERGY CORPORATION, et al.,1                     §                  Case No. 18-32106
                                                      §
         Debtors.                                     §                   Chapter 11
                                                      §
                                                      §

                        SUPPLEMENTAL CERTIFICATE OF SERVICE
                                [Relates to Doc. No. 190]

        I hereby certify that on June 11, 2018 Debtors’ Motion for Order Pursuant to 11 U.S.C. §
365(a) Authorizing Rejection of Rental Agreement with Four Oaks Place Operating LP (Doc.
No. 190) was served upon filing via the Court’s EM/ECF electronic system on all parties
subscribing thereto, by regular mail on June 12, 2018 to the Debtors’ Master Service List, and
via electronic mail on June 12, 2018 to the following:

         Gus E. Pappas
         Heather L. Lingle
         Dabney Pappas PC
         gus@dabneypappas.com
         heather@dabneypappas.com
         ATTORNEYS FOR FOUR OAKS
         PLACE OPERATING LP

                                                          /s/ Matthew S. Okin                 _______
                                                          Matthew S. Okin
         DATED: June 12, 2018.




1
 The last four digits of Erin Energy Corporation’s (“ERN”) federal tax identification number are 9798. The other
Debtors in these cases are: Erin Energy Limited (“EEL”); Erin Energy Kenya Limited (“EEKL”); and Erin
Petroleum Nigeria Limited (“EPNL”). The Debtors’ service address is: 1330 Post Oak Blvd., Suite 2250, Houston,
TX 77056.
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                             Respectfully submitted,

                             OKIN ADAMS LLP

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                             PROPOSED ATTORNEYS FOR THE
                             DEBTORS




                                2
